  Case 1:19-cv-06280-ILG-JO Document 1 Filed 11/06/19 Page 1 of 6 PageID #: 1



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
——————————————————————X
HEALTH & WELFARE FUND OF THE UNITED
FOOD & COMMERCIAL WORKERS LOCAL 2013,
AFL-CIO BY ITS TRUSTEES LOUIS MARK                                          COMPLAINT
CAROTENUTO and STANLEY FLEISHMAN,
                                                                            CV-19-6280
                                      Plaintiff,
               -against-

AMBER COURT OF BROOKLYN, LLC,

               Defendant.
——————————————————————X

       Plaintiff HEALTH & WELFARE FUND OF THE UNITED FOOD & COMMERCIAL

WORKERS LOCAL 2013, AFL-CIO BY ITS TRUSTEES LOUIS MARK CAROTENUTO and

STANLEY FLEISHMAN (“Plaintiff LOCAL 2013 HEALTH & WELFARE FUND”), by its

attorneys, BRADY McGUIRE & STEINBERG, P.C., for its Complaint, respectfully alleges:

       1.      This is an action to recover fringe benefit contributions owed to an employee

fringe benefit trust fund and for the breach of the terms and conditions of a collective bargaining

agreement pursuant to the Employee Retirement Income Security Act of 1974, as amended, 29

U.S.C. § 1001 et seq. (“ERISA”) and Section 301 of the Labor Management Relations Act of

1947, as amended, 29 U.S.C. § 185 (“LMRA”), respectively.

                                  JURISDICTION & VENUE

       2.      The subject matter jurisdiction of this Court is invoked pursuant to Sections 502

and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, along with Section 301(c) of the LMRA, 29

U.S.C. § 185(c).
  Case 1:19-cv-06280-ILG-JO Document 1 Filed 11/06/19 Page 2 of 6 PageID #: 2



       3.      Venue is properly laid in the Eastern District of New York pursuant to Section

502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2) and Section 301(a) of the LMRA, 29 U.S.C. §

185(a), in that, as shown below, Plaintiff LOCAL 2013 HEALTH & WELFARE FUND is

administered from its office located at 9235 Fourth Avenue, Brooklyn, New York.

                                         THE PARTIES

       4.      Plaintiff LOCAL 2013 HEALTH & WELFARE FUND is a joint trustee fund

established by a trust indenture pursuant to Section 302 of the LMRA, 29 U.S.C. § 186. The

Trustees of the LOCAL 2013 HEALTH & WELFARE FUND maintain the subject plan at an

office located at 9235 Fourth Avenue, Brooklyn, New York.

       5.      LOUIS MARK CAROTENUTO and STANLEY FLEISHMAN are Trustees of

Plaintiff LOCAL 2013 HEALTH & WELFARE FUND and are “fiduciaries” within the meaning

of Section 3(21) of ERISA, 29 U.S.C. § 1002(21).

       6.      Plaintiff LOCAL 2013 HEALTH & WELFARE FUND is an employee health

benefit plan within the meaning of Section 3(1) of ERISA, 29 U.S.C. § 1002(1) and established

for the purpose of providing medical benefits to eligible participants.

       7.      Plaintiff LOCAL 2013 HEALTH & WELFARE FUND constitutes a multi-

employer/employee benefit plan within the meaning of Sections 3(3) and 3(37) of ERISA, 29

U.S.C. §§ 1002(3) and (37).

       8.      Upon information and belief, Defendant AMBER COURT OF BROOKLYN,

LLC (“AMBER COURT”) was and still is a New York corporation with its principal place of

business located at 650 East 104th Street, Brooklyn, New York.
  Case 1:19-cv-06280-ILG-JO Document 1 Filed 11/06/19 Page 3 of 6 PageID #: 3



       9.       Upon information and belief, Defendant AMBER COURT was and still is a

foreign corporation duly licensed to do business in the State of New York.

       10.      Upon information and belief, Defendant AMBER COURT was and still is a

foreign corporation doing business in the State of New York.

       11.      Upon information and belief, Defendant AMBER COURT is an employer within

the meaning of Section 3(5) of ERISA, 29 U.S.C. § 1002(5) and Section 301 of the LMRA, 29

U.S.C. § 185.

                      AS AND FOR A FIRST CAUSE OF ACTION
                (BREACH OF COLLECTIVE BARGAINING AGREEMENT)

       12.      Plaintiff LOCAL 2013 HEALTH & WELFARE FUND repeats and realleges each

and every paragraph of the Complaint numbered 1 through 11 inclusive with the same force and

effect as though more fully set forth at length herein.

       13.      At all times relevant hereto, Defendant AMBER COURT agreed to be bound by

the terms and conditions of a collective bargaining agreement with United Food & Commercial

Workers Local 2013, AFL-CIO (“Local 2013”) (hereinafter referred to as the “Collective

Bargaining Agreement”).

       14.      Local 2013 is a labor organization as defined in Section 2 of the LMRA, 29

U.S.C. § 152, having its principal office for the transaction of business located at 9235 Fourth

Avenue, Brooklyn, New York.

       15.      Upon information and belief, for the period of July 1, 2019 through Present,

Defendant AMBER COURT has failed to remit payment of contractually required fringe benefit

contributions in the amount of no less than $12,974.40.
  Case 1:19-cv-06280-ILG-JO Document 1 Filed 11/06/19 Page 4 of 6 PageID #: 4



       16.     Defendant AMBER COURT remains delinquent in making the proper

contributions and has failed to pay any portion of the outstanding contributions owed to Plaintiff

LOCAL 2013 HEALTH & WELFARE FUND as detailed above.

       17.     Accordingly, as a direct and proximate result of the defaults, omissions and

breaches of the Collective Bargaining Agreement by Defendant AMBER COURT, said

Defendant is liable to Plaintiff LOCAL 2013 HEALTH & WELFARE FUND in the amount of

no less than $12,974.40.

                       AS AND FOR A SECOND CAUSE OF ACTION
                          (BREACH OF ERISA OBLIGATIONS)

       18.     Plaintiff LOCAL 2013 HEALTH & WELFARE FUND repeats and realleges each

and every paragraph of the Complaint numbered 1 through 17 inclusive with the same force and

effect as though more fully set forth at length herein.

       19.     The failure of Defendant AMBER COURT to make the required fringe benefit

contribution payments to Plaintiff LOCAL 2013 HEALTH & WELFARE FUND for the period

of July 1, 2019 through Present in the amount of no less than $12,974.40 is a violation of Section

515 of ERISA, 29 U.S.C. § 1145 which requires that employers pay fringe benefit contributions

in accordance with the terms and conditions of the applicable collective bargaining agreement.

       20.     Defendant AMBER COURT remains delinquent in making the proper

contributions and has failed to pay any portion of the outstanding contributions owed to Plaintiff

LOCAL 2013 HEALTH & WELFARE FUND as detailed above.

       21.     Section 502 of ERISA, 29 U.S.C. § 1132 provides that upon a finding of an

employer’s violation of Section 515 of ERISA, 29 U.S.C. § 1145, the Court shall award to
  Case 1:19-cv-06280-ILG-JO Document 1 Filed 11/06/19 Page 5 of 6 PageID #: 5



Plaintiff Trust Funds: (a) the amount owed in unpaid fringe benefit contributions; together with

(b) interest on the unpaid contributions computed at the rate provided for under the Plaintiff

Trust Fund’s Plan, or if none, at the rate set forth in the United States Internal Revenue Code at

26 U.S.C. § 6621; (c) liquidated damages; (d) reasonable attorneys’ fees; and (e) the costs and

disbursements of the action.

       22.     Accordingly, as a direct and proximate result of the breach of the Collective

Bargaining Agreement by Defendant AMBER COURT and as a result thereof having violated

Section 515 of ERISA, 29 U.S.C. § 1145, Defendant AMBER COURT is liable to Plaintiff

LOCAL 2013 HEALTH & WELFARE FUND in the amount of no less than $12,974.40, together

with accumulated interest on the unpaid and/or untimely paid principal amount due and owing,

liquidated damages, reasonable attorneys’ fees and the costs and disbursements incurred in this

action pursuant to Section 502 of ERISA, 29 U.S.C. § 1132.

       WHEREFORE, Plaintiff LOCAL 2013 HEALTH & WELFARE FUND demands

judgment on the First Cause of Action as against Defendant AMBER COURT OF BROOKLYN,

LLC in the amount of contributions determined to be due and owing of no less than $12,974.40.

       WHEREFORE, Plaintiff LOCAL 2013 HEALTH & WELFARE FUND demands

judgment on the Second Cause of Action as against Defendant AMBER COURT OF

BROOKLYN, LLC in the amount of contributions determined to be due and owing of no less

than $12,974.40, together with:

       a.      Prejudgment interest, computed at the plan rate or the applicable United States
               Treasury rate from the date on which the first payment was due on the total
               amount owed by Defendant, in accordance with Section 502(g)(2)(B) of ERISA,
               29 U.S.C. § 1132(g)(2)(B);
 Case 1:19-cv-06280-ILG-JO Document 1 Filed 11/06/19 Page 6 of 6 PageID #: 6



      b.     Liquidated damages in accordance with Section 502(g)(2)(C) of ERISA, 29
             U.S.C. § 1132(g)(2)(C);

      c.     Attorneys’ fees, costs and disbursements in accordance with Section 502(g)(2)(D)
             of ERISA, 29 U.S.C. § 1132(g)(2)(D); and

      d.     Such other and further relief as the Court may deem just and proper in accordance
             with Section 502(g)(2)(E) of ERISA, 29 U.S.C. § 1132(g)(2)(E).

Dated: Tarrytown, New York
       November 6, 2019

                                          Respectfully submitted,

                                          BRADY McGUIRE & STEINBERG, P.C.

                                   By:    /s/ James M. Steinberg

                                          James M. Steinberg, Esq.
                                          Attorneys for Plaintiff
                                          U.F.C.W. Local 2013 Health & Welfare Fund
                                          303 South Broadway, Suite 234
                                          Tarrytown, New York 10591
                                          (914) 478-4293
